                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                        )
 et al.,                                             )
                                                     )
                Plaintiffs and                       )
                Counterclaim Defendants,             )
                                                     )
 v.                                                  )       Case No. 4:16-cv-02163
                                                     )
 PEOPLE FOR THE ETHICAL                              )
 TREATMENT OF ANIMALS, INC., et al.,                 )
                                                     )
                Defendants and                       )
                Counterclaim Plaintiffs.             )


       MEMORANDUM IN SUPPORT OF COUNTERCLAIM PLAINTIFFS’
        MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE

       One of the central issues in this case is whether the treatment and conditions of

confinement of chimpanzees by Counterclaim Defendants Missouri Primate Foundation

(“MPF”), Connie Braun Casey (“Casey”), and Andrew Sawyer (“Sawyer”) (collectively,

“Defendants”) violate the Endangered Species Act (“ESA”). In an apparent attempt to evade

judicial scrutiny, Defendants removed at least six of the subject chimpanzees in anticipation,

and/or during the pendency, of this litigation. This left enormous gaps in the evidence that the

Counterclaim Plaintiffs, People for the Ethical Treatment of Animals, Inc. and Angela Scott a/k/a

Angela G. Cagnasso (together, “Plaintiffs”), need to prove their case. Defendants’ concealment

and attempt to shield the conditions of the subject chimpanzees from discovery also significantly

increases Plaintiffs’ burdens in pursuing discovery from non-parties in other jurisdictions where

the despoiled chimpanzees may now reside. Sanctions are warranted to right this wrong, punish




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Defendants’ disregard for the judicial process, and deter others from engaging in the same

misconduct.

                     FACTUAL AND PROCEDURAL BACKGROUND

       In relevant part, on or before November 12, 2016, Defendants received Plaintiffs’ notice

of violation and intent to file suit pursuant to Section 11(g)(2)(A)(i) of the ESA, for keeping

chimpanzees at MPF in conditions that constitute an unlawful “take” of these endangered

animals. [ECF No. 1-1; “Notice”]. During the mandatory 60-day waiting period between

Plaintiffs’ service of the Notice and filing suit, Casey and MPF removed three of the subject

chimpanzees to another facility—despite being fully aware of the need to preserve this evidence

for the impending ESA litigation. [ECF No. 31 at ¶ 46]. Defendants then preemptively sued

Plaintiffs on December 30, 2016, for: (1) a declaration that they are not in violation of the ESA;

(2) an injunction barring Plaintiffs from filing the ESA claims outlined in their Notice; and (3)

defamation for statements published on PETA’s website [ECF No. 1].1

       Sometime after receiving the Notice, Sawyer also removed the chimpanzee Joey from

MPF, where Joey had previously been held, and transferred him to an unknown location. [ECF

No. 31, ¶ 48]. Lest there be any doubt that this was an attempt to evade judicial scrutiny, Sawyer

then argued that removing Joey mooted the claim against him. [ECF No. 30, at 9 (“alleged

claims as to what occurred in the past regarding . . . Mr. Sawyer’s property” at MPF “are moot

and irrelevant[.]”)]. This Court made short shrift of that argument, noting: “the transfer does not




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 Defendants’ claims have since been dismissed and Plaintiffs’ ESA counterclaims against
Defendants are the only remaining claims in this case. [ECF No. 56]. In addition, a default has
been entered against MPF. [ECF No. 61]. Because the Court has not yet entered a final judgment
against MPF, MPF is still included in the present motion. If the Court enters final judgment
against MPF before ruling on the present motion, this will moot Plaintiffs’ request for sanctions
against MPF.
                                                 2
render the case moot as it is unknown . . . whether [Joey’s] transfer was merely temporary.”

[ECF No. 56, at 3, 11]. Moreover, it is unknown whether the transfer did anything at all to

remedy the unlawful “take” under ESA. While the character and quality of the evidence

regarding the “take” has undeniably been altered as a result of the spoliation, it has not mooted

the issue of whether a “take” took place in the past and continues to date.

       Alarmed by Defendants’ subterfuge, Plaintiffs’ counsel wrote to (then) counsel for

Defendants, Kurtis B. Reeg, on July 18, 2017. See Exhibit A to Declaration of Jared Goodman

(June 4, 2018) (“Goodman Decl.”; submitted herewith). Citing the applicable law, Plaintiffs’

counsel reminded Mr. Reeg of his clients’ duty to preserve evidence and alerting him that the

chimpanzees “were, and continue to be, evidence in this lawsuit, and their unilateral transport to

other facilities—and any similar future transports—effectively prevents Plaintiffs from obtaining

key evidence needed to support their claims” in the pending litigation.” Id. Plaintiffs also sought

assurances that Defendants “will not transport, transfer, or otherwise relocate any” of the other

chimpanzees “without prior written approval of the Court or unless and until the parties reach a

settlement regarding their transfer to a reputable sanctuary.” Id. On July 20, 2017, Mr. Reeg

responded, in part: “While we appreciate your thoughts regarding preservation, my clients and I

think we know what our preservation obligations are and that we have complied with the same.”

See Exhibit B to Goodman Decl.




                                                 3
        Notwithstanding Plaintiffs’ explicit warnings and Defendants’ counsel’s assurances, one

week later, Casey and MPF apparently removed two more chimpanzees from MPF.2 In all, at

least six3 of the fifteen4 subject chimpanzees were despoiled since Plaintiffs’ Notice.

                      CENTRALITY OF THE SPOLIATED EVIDENCE

        It seems almost too obvious to state that the conditions of the chimpanzees and the

manner in which they are confined and treated are central to Plaintiffs’ claims. Among other

things, Plaintiffs allege that “MPF and Casey hold the chimpanzees in barren and unsanitary

enclosures in which they are inhumanely deprived of the social contact, physical space, and

environmental enrichment necessary to engage in species-typical behaviors such as foraging,

nest-building, climbing, play, tool use, and socializing that are crucial to their well-being.” [ECF

No. 23, ¶ 4]. Moreover, the subject animals “are denied an adequate diet and regular veterinary

care” and, as a result “exhibit physical and behavioral evidence of distress and psychological

harm.” [Id.]. With respect to Sawyer, Plaintiffs alleged that he “knowingly placed Joey in these

conditions and in solitary confinement for years.” [Id.] These conditions “harass” the

chimpanzees in violation of the ESA’s “take” prohibition “by causing them psychological harm,

preventing them from carrying out their natural behaviors, and exposing them to a significant

risk of physical illness and injury.” [Id.]




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 This is inferred from records subpoenaed from veterinarian Dr. Doug Pernikoff, a former board
member of MPF. They show that on or around July 27, 2017, Pernikoff examined two subject
chimpanzees prior to their transfer to a Michigan facility. See Exhibit C to Goodman Decl.
3
 Due to the intervening discovery stay, Plaintiffs have not yet been able to conduct discovery to
confirm the whereabouts of the remaining chimpanzees that are the subject of Plaintiffs’ claims.
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  The initial suit involved sixteen chimpanzees. However, Jane Doe 1 (the owner of the sixteenth
chimpanzee) dismissed her claim without objection and Plaintiffs did not assert any claims
against her.
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       The removal of six of the fifteen chimpanzees from MPF’s facility creates enormous (and

largely irretrievable) gaps in the evidence the Plaintiffs need to prove these claims at trial. Even

to the extent that some limited evidence may still be gathered through onerous third party

discovery, the costs and burdens on Plaintiffs to obtain such discovery have been significantly

increased.5

                                      LEGAL STANDARD

       Spoliation refers to the “‘destruction or material alteration of evidence or to the failure to

preserve property for another’s use as evidence in pending or reasonably foreseeable litigation.’”

Claredi Corp. v. SeeBeyond Technology Corp., No. 4-04-CV-01304 RWS, 2010 WL 11579710,

at *2 (E.D. Mo. March 8, 2010), report and recommendation adopted in relevant part, No. 4:04

CV 1304 RWS, 2010 WL 11579799 (E.D. Mo. Mar. 31, 2010) (quoting Silvestri v. General

Motors, 271 F.3d 583 (4th Cir. 2001)). If spoliation occurs, “A court’s inherent power includes

the discretionary ‘ability to fashion an appropriate sanction for conduct which abuses the judicial

process.’” E.g., Process Controls Intern., Inc. v. Emerson Process Management, No. 4:10CV645

CDP, 2011 WL 5006220, at *5 (E.D. Mo. Oct. 20, 2011) (quoting Chambers v. NASCO,

Inc., 501 U.S. 32, 44–45 (1991)). “This inherent power reaches conduct both before and during

litigation as long as that conduct abuses the judicial process in some manner.” Stevenson v.

Union Pacific R. Co., 354 F.3d 739, 751 (8th Cir. 2004).

       Appropriate sanctions for spoliation include entry of default judgment, an adverse

inference that the spoliated evidence would have been unfavorable to the position of the

offending party, exclusion of evidence, and the imposition of the prejudiced party’s attorney’s



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 For example, Plaintiffs have expended substantial resources in a (thus far futile) attempt to get
discovery from DeYoung Family Zoo in Wallace, Michigan, where some of the despoiled
chimpanzees are believed to be held. See Exhibit D to Goodman Decl.
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fees or other monetary sanction. See, e.g., Ameriwood Industries, Inc. v. Liberman, No.

4:06CV524-DJS, 2007 WL 5110313, at *1 (E.D. Mo. July 3, 2007) (granting motion for

sanctions, striking defendant’s answer and counterclaim, and entering default judgment for

plaintiff where defendant’s “intentional actions evidence a serious disregard for the judicial

process and prejudice[d]” plaintiff).

                                            ARGUMENT

I.      Defendants’ Intentional Removal of the Chimpanzees Violated Their Duty to
        Preserve Relevant Evidence and Amounts to Bad Faith

        “The obligation to preserve evidence begins when a party knows or should have known

that the evidence is relevant to future or current litigation.” See, e.g., Fidelity Nat. Title Ins. Co.

v. Captiva Lake Inv., LLC, No. 4:10-CV-1890 CEJ, 2015 WL 94560, at *2 (E.D. Mo., Jan. 7,

2015). There can be no question that the chimpanzees constituted key evidence in this case and

that their removal was in bad faith, as Defendants knew or should have known as of the date they

received the Notice, that they had a duty to preserve this evidence for Plaintiffs’ use in litigation.

        A finding of “bad faith” spoliation is warranted when property is despoiled in

circumstances when the offending party “had general knowledge” that the property “would be

important to any litigation” in the future. See Stevenson, 354 F.3d at 748 (holding that

prelitigation destruction of tapes was in bad faith, warranting sanctions for spoliation). The

Eighth Circuit’s test for determining “bad faith” is clearly met here, because Defendants were on

notice that the chimpanzees were at issue in Plaintiffs’ impending (and subsequently filed) ESA

claims. Instead of complying with their duty to take reasonable steps to preserve all relevant

evidence, Defendants disposed of key property that they knew would be material evidence in this

case, including even after Plaintiffs’ explicit reminder of their preservation obligations. This

conduct is sufficient to meet the “bad faith” standard under Stevenson and its progeny. See also,


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e.g., Sentis Group, Inc. v. Shell Oil Co., 763 F.3d 919, 924 (8th Cir. 2014) (intentional (versus

negligent) nature of ongoing and systematic suppression of evidence warranted finding of “bad

faith” and termination sanction); Claredi Corp., 2010 WL 11579710 at *11 (party’s conduct in

being willful or at least grossly negligent in implementing its preservation obligations met the

“bad faith” standard set forth in Stevenson); Am. Builders & Contractors Supply Co., Inc. v.

Roofers Mart, Inc., No. 1:11-CV-19 CEJ, 2012 WL 2992627, at *4 (E.D. Mo. July 20, 2012)

(inferring from the timing of destruction of evidence that it was done with the intent to deprive

opposing party of the use of the evidence in litigation).

       MPF’s and Casey’s attempt to couch the removal of at least three of the subject

chimpanzees as an allegedly routine business transaction does not exculpate them under these

circumstances. [ECF Nos. 17-1 at ¶ 3 and 31 at ¶ 46].6 The decision in Stevenson is again

instructive. There, the defendant railroad destroyed a voice tape “pursuant to its routine policy.”

Stevenson, 354 F.3d at 748. The Eighth Circuit still held that a finding of bad faith was warranted

because the railroad “had general knowledge that such tapes would be important to any litigation

over an accident that resulted in serious injury or death.” Id. Another factor weighing heavily in

support of a finding of bad faith was that the tape was “the only contemporaneous recording of

conversations at the time of the accident,” which “will always be highly relevant to potential

litigation over the accident.” Id. The prelitigation destruction of the voice tape “in this




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  Beyond her self-serving assertion, Casey thus far disclosed no records to support her
characterization of the transaction, for example, correspondence reflecting the date(s) and
contents of these alleged negotiations. If such evidence existed, it was subject to Casey’s Rule 26
disclosure obligation. It may be inferred from the absence of any records evidencing the alleged
negotiations, that the transfer of the subject animals was anything but a “routine” business
transaction.
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combination of circumstances, though done pursuant to a routine retention policy,” supported

the district court’s finding of bad faith. Id. (emphasis added).

       Likewise, here, the unique and irreplaceable evidentiary value of the despoiled

chimpanzees and the specific conditions and circumstances under which they were held in

alleged violation of the ESA, coupled with Defendants’ certain knowledge of their importance to

Plaintiffs’ impending (and/or pending) lawsuit, supports a finding that Defendants’ intentional

removal of the subject chimpanzees—no matter how “routine” the transfers are alleged to be or

when discussion of their potential removal began—meets the bad faith test articulated in

Stevenson.

II.    Plaintiffs Have Been Prejudiced by Defendants’ Spoliation of the Evidence

       There also is no question that Plaintiffs have been prejudiced (indeed, irreparably

prejudiced) by Defendants’ conduct of removing the chimpanzees from the conditions at issue in

this litigation. Courts have found prejudice where, as here, the despoiled evidence was both

relevant and unavailable from other sources. See, e.g., Stevenson, 354 F.3d at 748 (noting that

destruction of evidence for which there is no duplicate “renders its loss prejudicial”). For

example, in Stevenson, a railroad company destroyed tapes that had been recorded at the time of

an accident. Stevenson, 354 F.3d at 743. The Eighth Circuit found the destruction of the tapes

prejudicial because they were “the only recording of conversations . . . contemporaneous with

the accident”—even though there was no indication that they contained “smoking-gun” evidence

and the fact they were destroyed before litigation was initiated. Id. at 748.

       The court in Liberman also found prejudice where defendants permanently deleted files

from hard drives after litigation had begun and plaintiff had requested images of the hard drives.

2007 WL 5110313 at *6. The court found prejudice due to “the fact that plaintiff cannot show



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what information and documents were destroyed[.]” Id. at *7; see also, e.g., Claredi Corp., 2010

WL 11579710 at * 13 (finding prejudice because of “widespread” gaps in the evidence due to

offending party’s spoliation); Coral Group, Inc. v. Shell Oil Co., 286 F.R.D. 426, 442 (W.D. Mo.

Sept. 30, 2012) (because no “alternate sources” for the destroyed evidence existed, destruction

“irreparably prejudiced” the opposing party).

       Likewise, here, the despoiled chimpanzees constitute unique, irreplaceable evidence in

the case. Their absence creates widespread gaps in the evidence Plaintiffs need to prove their

case with respect to each of the chimpanzees at issue. Plaintiffs will never be able to determine

the exact conditions under which these particular chimpanzees had been confined and will never

know just how many improper conditions of confinement were irretrievably obliterated as a

result of the removal. This is the essence of prejudice.

III.   Default is an Appropriate Sanction

       In evaluating what sanctions are appropriate to remedy spoliation, courts look at the

culpability of the offending party and the timing of the actions that caused the evidence to

become unavailable. See Stevenson, 354 F.3d at 748. In choosing among the available sanctions,

the Court is “not constrained to impose the least onerous sanction available, but may exercise its

discretion to choose the most appropriate sanction under the circumstances.” Chrysler Corp. v.

Carey, 186 F.3d 1016, 1022 (8th Cir. 1999). A sanction should be sufficient to remedy the

prejudice caused to the moving party, i.e., to restore “the lack of integrity in the case being

presented to the [factfinder].” Id. It should also serve “to deter those who might be tempted to

such conduct in the absence of such a deterrent.” Id. (quoting Nat’l Hockey League v. Metro.

Hockey Club, Inc., 427 U.S. 639, 643 (1976)).




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       When a litigant acts in bad faith and intentionally despoils evidence, thereby prejudicing

the opposing party, the court “may strike pleadings or render default judgment against a party.”

Liberman, 2007 WL 5110313, at *5 (citing Menz v. New Holland N. Am., Inc., 440 F.3d 1002,

1006-07 (8th Cir 2006) (quoting Stevenson, 354 F.3d at 746, 748)).

       Defendants’ intentional, bad faith spoliation of the subject chimpanzees amply meets the

standard for the most severe sanction of striking Defendants’ pleadings and rendering a default

judgment against them. See, e.g., Sentis Group, 763 F.3d at 927 (upholding district court’s

termination sanction against litigant who acted in bad faith by intentionally spoliating evidence

and, as a result, the opposing party “could not obtain a fair trial without the missing

information”). For example, in Liberman, 2007 WL 5110313, at *5, the court held that a

judgment of default was warranted after the intentional deletion of relevant electronic files after

the court ordered the production of a hard drive containing the information. As the court noted,

“an entry of default judgment may be the only sanction sufficient to right the wrongs committed

during the discovery process.” Id.

       Similarly, the court in Garrett v. Albright, No. 4:06-CV-4137NKL, 2008 WL 681766, at

*7 (W.D. Mo. March 6, 2008), pointed out that lesser sanctions such as payment of fees

associated with discovery abuses “seems more appropriate when evidence is eventually produced

after a party has delayed or confused the discovery process without just cause but has not

actually destroyed evidence after being ordered by the Court to produce it.” Where, as here, the

evidence “has now disappeared” due to the offending party’s intentional conduct, it is

appropriate to strike that party’s pleadings and enter a default judgment against it, “[a]s

“punishment” for the abuse. Id.; see also, e.g., Moyers v. Ford Motor Co., 941 F. Supp. 883, 885

(E.D. Mo. 1996) (holding that plaintiff was prejudiced by defendant’s failure to preserve seatbelt



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in products liability action and lesser sanction than summary judgment for defendant would be

inadequate); Coral Group, Inc. v. Shell Oil Co., 286 F.R.D. 426, 443 (W.D. Mo. 2012) (entering

termination sanction since destruction of evidence deprived defendants of the ability to receive a

fair trial and the prejudice caused to the defendant “cannot be cured by a lesser sanction” like

striking evidence or issuing an adverse instruction).

IV.       Alternative and/or Additional Sanctions are Available

          To the extent the Court decides not to impose a terminating default sanction on one or

more of the Defendants at this time, lesser alternative sanctions are still warranted. Defendants

should at least be deemed to have admitted Plaintiffs’ allegations with respect to each of the

despoiled chimpanzees.7 See generally Garrett v. Terminal R. Ass’n of St. Louis, 259 S.W.2d

807, 812 (Mo. 1953) (noting “the rule that where a party to a suit has been guilty of spoliation of

documentary evidence, he is held thereby to admit the truth of the allegation of the opposite

party).

          Although it would not restore Plaintiffs to the status quo ante, another potential lesser

sanction is an adverse inference that the despoiled chimpanzees were (and are) treated and

confined in violation of the ESA, and thereby put Defendants to the burden of refuting this

inference. The Eighth Circuit has upheld the imposition of an adverse inference where the

offending party “knew or should have known” destruction of the evidence was improper. Dillon

v. Nissan Motor Co., Ltd., 986 F.2d 263, 266 (8th Cir. 1993) (upholding adverse inference

instruction based on plaintiffs’ failure to preserve automobile involved in collision).




7
 This would still result in a default judgment against Sawyer, but not against Casey and MPF,
because not all of their subject chimpanzees were removed.
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        Regardless of whether the Court imposes terminating or lesser sanctions for Defendants’

conduct, Plaintiffs request, in addition, that Defendants should be ordered to pay the attorneys’

fees and costs incurred by Plaintiffs in connection with this motion for sanctions and to cover the

increased costs associated with obtaining the lesser available evidence relating to the despoiled

chimpanzees from third parties. See Process Controls, 2011 WL 5006220, at *9 (awarding fees

for costs associated with litigating motion for sanctions where offending party acted in bad faith

in destroying documents). Such additional sanctions are appropriate “to send a message” to

Defendants “and other litigants that the duty to preserve relevant evidence . . . is not to be taken

lightly.” Claredi Corp., 2010 WL 11579710, at *15 (awarding movant its attorney’s fees and

expenses in prosecuting spoliation motion).8

                                           CONCLUSION

        Declining to impose sanctions would give carte blanche to similarly situated ESA

defendants (and, indeed, the Defendants in this case) to evade judicial scrutiny by removing all

subject animals to third party facilities, regardless of those facilities’ ability to provide care for

them consistent with their legal obligations. After litigation has concluded without consequences

for their abusive conduct, defendants (like Defendants here), would be free to retrieve the subject

animals and resume their unlawful treatment of the animals, making a mockery of the ESA’s

citizen suit provision, which is intended to allow plaintiffs “to vindicate Congressional policy of

the highest priority and advance the public interest.” Kuehl v. Sellner, 887 F.3d 845, 855 (8th

Cir. 2018).



8
  Plaintiffs request that they be granted 14 days from the entry of the order on this motion in
which to submit their proposed request for attorney’s fees and expenses incurred in the motion
for sanctions, and 14 days from the entry of final judgment against Casey and Sawyer, to submit
their proposed request for attorney’s fees and expenses incurred in taking third party discovery
relating to the despoiled animals.
                                                   12
        This Court should send a clear and forceful message that such gamesmanship will not be

tolerated.

        For all of these reasons, Plaintiffs request that the Court enter an Order, in the form

submitted herewith, granting Plaintiffs’ motion in all respect.


Dated: June 4, 2018                            Respectfully submitted,

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                                                 13
                              CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2018, the foregoing (i) Memorandum in Support of

Counterclaim Plaintiffs’ Motion for Sanctions for Spoliation of Evidence; (ii) [Proposed] Order;

and (iii) Declaration of Jared Goodman were electronically filed with the Clerk of the Court

using the CM/ECF system, by which notification of such filing was electronically sent and

served to the following:

       Geordie Duckler, geordied@animallawpractice.com
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And by regular mail on the following:

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                                                    /s/ Jared Goodman
